Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 1 of 37      PageID #:
                                     407



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 Attorney for Plaintiffs

                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  Venice PI, LLC,                           )   Case No.: 1:19-cv-169-LEK-KJM
  MON LLC,                                  )
  Millennium Funding, Inc.,                 )   (Copyright)
  Bodyguard Productions, Inc.,              )
  TBV Productions, LLC,                     )   FIRST AMENDED COMPLAINT;
  UN4 Productions, Inc., and                )   EXHIBITS 1-3; DECLARATIONS
  Hunter Killer Productions, Inc.           )   OF ERIC SMITH, MICHAEL
                                            )   NOLASCO, BRENT BALDWIN
                      Plaintiffs,           )   AND TIME TRAVIS LAAPUI
      vs.                                   )
                                            )
  NGUYEN DINH MANHDOE 1                     )
  d/b/a YIFY,                               )   (1) CONTRIBUTORY
  TECHMODO LTDDOE 2 d/b/a                   )       COPYRIGHT
  YTS, AND                                  )       INFRINGEMENT
  MICHAEL NOLASCOSENTHIL                    )   (2) INTENTIONAL
  VIJAY SEGARAN,                            )       INDUCEMENT
  BRENT BALDWIN,                            )   (3) DIRECT COPYRIGHT
  DOE 3 and DOES 4-10                       )       INFRINGEMENT


                      Defendants.

                           FIRST AMENDED COMPLAINT

           Plaintiffs Venice PI, LLC, MON LLC, Millennium Funding, Inc., Bodyguard

 20-015A
                                    Exhibit "1"
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 2 of 37               PageID #:
                                     408



 Productions, Inc., TBV Productions, LLC, UN4 Productions, Inc., and Hunter Killer

 Productions, Inc., (collectively “Plaintiffs”) file this First Amended Complaint

 against Defendants Nguyen Dinh Manh (previously identified as DOE 1), Techmodo

 Limited (previously DOE 2) and Senthil Vijay Segaran (previously DOE 2)

 (collectively “Defendants”), Michael Nolasco, Brent Baldwin, (collectively

 “Defendants”) and DOE 3 and allege as follows:

                            I.     NATURE OF THE ACTION

           1.     Plaintiffs bring this action to stop the massive piracy of their motion

 pictures brought on by websites under the collective names YIFY and YTS and their

 users.

           2.1.   To halt Defendants’ illegal activities, Plaintiffs bring this action under

 the United States Copyright Act of 1976, as amended, 17 U.S.C. §§ 101, et seq. (the

 Copyright Act”) and allege that Defendants are liable for inducement, and direct and

 contributory copyright infringement in violation of 17 U.S.C. §§ 106 and 501.

                           II.    JURISDICTION AND VENUE

           3.2.   This Court has subject matter jurisdiction over this action pursuant to

 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

 and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

           4.     Defendants solicit, transact, or are doing business within this

 jurisdiction, and have committed unlawful and tortious acts both within and outside

                                               2
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 3 of 37            PageID #:
                                     409



 this jurisdiction with the full knowledge that their acts would cause injury in this

 jurisdiction.

           5.    Defendants DOE 1 and DOE 2 cause harm to Plaintiffs’ business within

 this District by diverting customers in this District to unauthorized Internet-based

 content distribution services through, at least, the websites yifymovies.is, and yts.lt

 and yts.ag.

           6.    Defendants DOE 1 and DOE 2 have designed their interactive websites

 to individually target Hawaii users based upon their personal information such as

 web browsing history.

           7.    Upon information and belief, Defendants DOE 1 and DOE 2 collect log

 files including the Internet Protocol (“IP”) address, Internet Service Provider (“ISP”)

 and browser type of each user who visits their websites.

           8.    Upon information and belief, Defendants DOE 1 and DOE 2 use

 cookies and web beacons to store information such as personal preferences of users

 who visit their websites.

           9.    Upon information and belief, Defendants DOE 1 and DOE 2 obtain

 financial benefit from their users in Hawaii via third party advertisements such as

 Google through the Google AdSense program.

           10.   Upon information and belief, Defendants use the cookies, log files

 and/or web beacons to narrowly tailor the website viewing experience to the

                                            3
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 4 of 37              PageID #:
                                     410



 geolocation of the user. Particularly, users in Hawaii receive advertisements based

 upon their location and websites they have previously visited.

           11.   In the alternative, the Court has jurisdiction pursuant to Fed. R. Civ. P.

 4(k)(2), the so-called federal long-arm statute, for at least the following reasons: (1)

 Plaintiffs’ claims arise under federal law; (2) the Defendants DOE 1 and DOE 2

 purposely directed their electronic activity into the United States and target and

 attract a substantial number of users in the United States and, more particularly, this

 District; (3) Defendants do so with the manifest intent of engaging in business or

 other interactions with the United State; (4) the Defendants are not subject to

 jurisdiction in any state’s courts of general jurisdiction; and (5) exercising

 jurisdiction is consistent with the United States Constitution and laws.

           12.   Defendants DOE 1 and DOE 2 use many United States based sources

 for their activities such as the Internet hosting and nameserver company Cloudflare,

 Inc.

           13.   Defendants consented to jurisdiction in the United States per

 Cloudflare’s terms of service.

           14.   Defendants DOE 1 and DOE 2 promote overwhelmingly if not

 exclusively motion pictures produced by United States companies on their websites.

           15.   Defendant Nguyen Dinh Manh (“Nguyen”) used the United States

 Internet hosting provider Choopa, LLC for hosting services of the YIFY website.

                                              4
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 5 of 37            PageID #:
                                     411



           16.   Defendant Nugyen used the United States provider Paypal to receive

 payments from advertising funds received as a result of clicks to advertisements on

 his interactive YIFY website.

           17.   Defendant Nguyan used the United States email provider Google to

 operate his interactive YIFY website.

           18.   Defendant Nguyen used the United States registrar Namecheap to

 register his domain yifymovies.is, and thereby consented to jurisdiction in the United

 States per Namecheap’s terms of service.

           13.

           14.19. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

 because: (a) all or a substantial part of the events or omissions giving rise to the

 claims occurred in this District; and (c)(3) any of the Defendants not a resident of

 the United States may be sued in this District.

                                     III.     PARTIES

                                    A. The Plaintiffs
           15.20. The Plaintiffs are owners of the copyrights for the motion pictures

 (hereafter: “Works”), respectively, as shown in Exhibit “1” and listed below.

                   OWNER                MOTION PICTURE                Copyright
                                                                      Certificate
                                                                       Number
                                            Once Upon a Time in       PA2039391
                 Venice PI, LLC
                                                  Venice

                                               5
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 6 of 37           PageID #:
                                     412



                                             Singularity            PAu3848900
                   MON LLC
                                       Mechanic: Resurrection        PA1998057
             Millennium Funding,
                     Inc.
                                            The Hitman’s            PAu3844508
            Bodyguard Productions,
                                             Bodyguard
                    Inc.
                                             I Feel Pretty           Pau3896491
            TBV Productions, LLC
                                          Boyka: Undisputed        PA0002000772
             UN4 Productions, Inc.
                                            Hunter Killer            PA2136168
                  Hunter Killer
                 Productions, Inc.



                                      B. The Defendants

           21.    Defendant Nguyen is a resident of Vietnam.

           16.22. Defendant DOE 1 operatesNguyen operated an interactive website

 http://yifymovies.is (hereafter: “YIFY Website”) until about May 23, 2019as of

 April 1, 2019.

           17.23. The YIFY website includes included a library of copyright protected

 motion pictures, including Plaintiffs’, that can could be streamed by users for free.

           18.24. Defendant DOE 1Nguyen states stated on the YIFY website,

 “Welcome to the official YIFY website. Here you will be able to browse and watch

 YIFY Movies online for free in excellent BluRay quality with the English subtitle.”




                                             6
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 7 of 37         PageID #:
                                     413




           25.   Defendant Nguyen operated many other piracy websites such as

 gomoviesfree.is, fmoviesfree.is, watchasap.is, yesmovies.to, 9movies.is and

 123movies.is which provided similar streaming services of copyright protected

 motion pictures.

           26.   Defendant Nguyen’s websites 123movies.is and fmoviesfree.is were

 noted by the Office of the United States Trade Representative (“USTR”) as

 examples of Notorious Markets defined as an online marketplace reportedly

 engaged in and facilitating substantial piracy. See USTR, 2018 Out-of-Cycle Review

 of    Notorious     Markets,   April   2019,   pgs.   2,   4,   18,   Available   at

 https://ustr.gov/sites/default/files/2018_Notorious_Markets_List.pdf [accessed on

 June 13, 2019].

                                           7
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 8 of 37            PageID #:
                                     414



           27.   Defendant Techmodo Limited (“Techmodo”) is a private limited

 company incorporated under the laws of England and Wales.

           28.   Defendant Senthil Vijay Segaran (“Segaran”) is an individual residing

 in England and is the sole shareholder in Techmodo.

           29.   Defendants Techmodo and Segaran DOE 2 operate and/or exercise

 control over an interactive website www.yts.lt (hereafter: “YTS website”) which

 includes a library of torrent files for copyright protected motion pictures, including

 Plaintiffs’. The torrent files can be used by a BitTorrent client application to

 download motion pictures for free. Upon information and belief, Defendants

 Techmodo and Segaran previously operated the websites yts.gg, yts.am and yts.ag,

 which now redirects to yts.lt.

           19.   s an interactive website http://yts.am (hereafter: “YTS website”) which

 includes a library of torrent files for copyright protected motion pictures from YIFY,

 including Plaintiffs’. The torrent files can be used by a BitTorrent client application

 to download motion pictures for free. Upon information and belief, Defendant DOE

 2 previously operated the website yts.ag, which now redirects to yts.am.

           20.30. Defendants Techmodo and Segaran state DOE 2 states on the YTS

 website, “Here you will be able to browse and download YIFY movies in excellent

 720p, 1080p and 3D quality…”



                                             8
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 9 of 37            PageID #:
                                     415




           31.   Defendants Techmodo and Segaran begin redirecting the YTS website

 to the domain yts.lt on or about June 3, 2019 in response to the present litigation.

           32.   Upon information and belief, Defendants Techmodo and Segaran

 operate and/or exercise control over many other movie piracy websites such as

 piratetorrents.net, limetorrents.cc, yourbittorrent.com, rarbg.to, torrentbutler.eu,

 piratetorrents.net, thepiratebay.se.net, torrentz.eu, 1337x.to and extratorrent.cc

 which provided similar torrent files for distributing copyright protected motion

 pictures.

           33.   Defendant Techmodo’s websites rarbg.to and thepiratebay.se.net were

 noted by the USTR as example of a Notorious Market. See USTR supra at pgs. 24,

 27.

           21.   The true names and capacities, whether individual, corporate, associate

           or otherwise, of Defendants DOE 1 and DOE 2 are unknown to Plaintiffs who
                                             9
 20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 10 of 37                PageID #:
                                     416



            therefore sues said Defendants by such fictitious names. Each of Defendants

            DOE 1 and DOE 2 is known to the Plaintiff only by the websites at which the

            alleged infringements take place.

            22.     As of April 2, 2019, the whois search records for the registrant of YIFY

  website         only   show    a   registrant    “LFR2-IS”     at   an   email    address

  moviesteam@protonmail.com.




                                                  10
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 11 of 37             PageID #:
                                     417




            23.   As of April 2, 2019, the whois search records for the registrant of the

  YTS websites (yts.am and yts.gg) only show registrant name was “REDACTED

  FOR PRIVACY” by Gandi SAS (http://www.gandi.net).


                                              11
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 12 of 37   PageID #:
                                     418




                                       12
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 13 of 37           PageID #:
                                     419




            24.   Defendant Michael Nolasco is, upon information and belief, a resident

  of Honolulu, Hawaii, and over 18 years of age.

            25.   Defendant Michael Nolesco is the son of an individual who is or was

  subscriber of Internet service from Hawaiian Telcom in Hawaii and assigned

  Internet Protocol (“IP”) address 72.234.162.87.



                                             13
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 14 of 37            PageID #:
                                     420



            26.   Defendant Brent Baldwin is, upon information and belief, a resident of

  Honolulu, Hawaii, and over 18 years of age.

            27.   Defendant Brent Baldwin is or was a subscriber of Internet service

  from Verizon Wireless and assigned IP address 174.239.5.113.

            28.   Defendant DOE 3 is, upon information and belief, a resident of

  Honolulu, Hawaii, and over 18 years of age.

            29.   Defendant DOE 3 is the son of Lourdes Coughlin, who is or was a

  subscriber of Internet service from Verizon Wireless and assigned IP address

  70.212.134.243.

            30.   DOES 4-10, upon information and belief, provide streaming sources

  for the YIFY website of Defendant DOE 1.

            31.   Cloudflare, Inc. provides hosting and nameserver service for the

  websites of Defendants DOE 1 and DOE 2.               Plaintiffs intends to subpoena

  Cloudflare, Inc. in order to learn the identities of Defendants DOE 1 and DOE 2.

  Plaintiff intends to subpoena Lourdes Coughlin to obtain the name of her son (DOE

  3) who is responsible for the acts alleged here. Plaintiffs intend to subpoena the

  Internet Service Providers associated with the Internet Protocol addresses that

  provide the streaming sources for the website of DOE 1 to obtain the identities of

  DOES 4-10. Further discovery may be necessary in some circumstances in order

  to be certain of the identity of the proper Defendant. Plaintiffs believe that

                                             14
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 15 of 37               PageID #:
                                     421



  information obtained in discovery will lead to the identification of each Defendants’

  true names and permit the Plaintiffs to amend this Complaint to state the same.

  Plaintiffs further believe that the information obtained in discovery may lead to the

  identification of additional infringing parties to be added to this Complaint as

  Defendants. Plaintiff will amend this Complaint to include the proper names and

  capacities when they have been determined. Plaintiffs are informed and believe,

  and based thereon allege, that each of the fictitiously named Defendants participated

  in and are responsible for the acts described in this Complaint and damages resulting

  therefrom.

                                       IV.    JOINDER

            32.34. Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

  joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

  to relief arising out of the same transaction, occurrence, or series or transactions,

  namely the distribution of and use of YIFY and YTS websites for streaming and

  distributing Plaintiffs’ Works; and (b) that there are common questions of law and

  fact.

            33.35. Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

  right to relief arising out of the same transaction, occurrence, or series or

  transactions, namely the distribution of Plaintiffs’ Works via the YIFY and YTS

                                               15
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 16 of 37               PageID #:
                                     422



  websites of Defendants DOE 1 and DOE 2; and (b) there are common questions of

  law and fact. Plaintiffs assert that Defendants DOE 1 and DOE 2 are jointly and

  severally liable for the infringing activities of each other and for inducing and/or

  contributing to the infringements of the other Defendants

                             V.    FACTUAL BACKGROUND
            A. The Plaintiffs Own the Copyrights to the Works

            34.36. The Plaintiffs are the owners of the copyright in the Works,

  respectively. The Works are the subjects of copyright registrations, and this action

  is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

            35.37. Each of the Works are motion pictures currently offered for sale in

  commerce.

            36.38. Defendants had notice of Plaintiffs’ rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright notices.

            39.   Defendants also had notice of Plaintiffs’ rights through general

  publication and advertising associated with the motion picture, and packaging and

  copies, each of which bore a proper copyright notice.

            B. The YIFY and YTS websites

            37.

            38.40. Upon information and belief, the name YIFY mentioned in the YIFY

  website and the YTS website is derived from the name Yiftach Swery, the founder

                                               16
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 17 of 37            PageID #:
                                     423



  of YIFY Torrent Solutions.

            39.41. Upon information and belief, the name YTS mentioned in the YTS

  website is an abbreviation of YIFY Torrent Solutions.

            40.42. Upon information and belief, the YIFY website is streaming motion

  pictures from at least torrent sources of the YTS library.

            41.43. Upon information and belief, both YIFY and YTS are operating in

  concert. Both the YIFY and YTS websites include what appears to be the same

  trademark – namely a green semi-circle with three large full circles and one small

  full circle therein akin to a traditional movie reel with film extending therefrom.




            42.44. The YIFY website of Defendant Nguyen DOE 1 alloweds users to

  stream Plaintiffs’ Works.

            43.45. Defendant Nguyen DOE 1 does not have a license from Plaintiffs to

  publicly perform or stream copies of Plaintiffs’ Works.

            44.46. Upon information and belief, the YIFY website of Defendant Nguyen

  DOE 1 is using source repositories (including those associated with Defendants

  Techmodo and Segaran DOE 2) to allow users to stream copyright protected

  content, including Plaintiffs’ Works.
                                            17
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 18 of 37               PageID #:
                                     424



            47.   Upon information and belief, the YTS website of Defendants

  Techmodo and Segaran DOE 2 is providing torrent files, many including the name

  “yts.agYTS” in their file names, that can be used by a BitTorrent protocol client

  application protocol to download copyright protected content, including Plaintiffs’

  Works from Torrent sites. Exhibit “2” (Mechanic Resurrection (2016) [YTS.AG]

  and Singularity (2017) [YTS.AG]).

            48.   Upon information and belief, Defendants Techmodo and Segaran use

  a process referred to as “ripping” to create a copy of motion pictures from either

  Blu-ray or legal streaming services.

            49.   Defendants Techmodo and Segaran sometimes includes words such as

  “YTS” in the titles of the torrent files they create in order to enhance their reputation

  for the quality of his torrent files and attract users to their interactive YTS website.

            45.

            46.50. Torrent sites are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. When a user of Defendants Techmodo and SegaranDefendant DOE 2’s

  YTS website select a motion picture, the user receives a torrent file associated with

  that motion picture. The user can use a BitTorrent protocol client application to run

  the torrent file to download a copy of the motion picture.

            47.51. Defendants Techmodo and Segaran Defendant DOE 2 does not have a

                                              18
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 19 of 37           PageID #:
                                     425



  license from Plaintiffs to copy, publicly perform or distribute copies of Plaintiffs’

  Works.

            48.52. Users of the websites of Defendants DOE 1 and DOE 2 use the

  websites for their intended and unquestionably infringing purposes, most notably to

  obtain immediate, unrestricted, and unauthorized access to unauthorized copies of

  Plaintiffs’ Copyrighted Works.

            49.53. Defendants DOE 1 and DOE 2 promote their websites for

  overwhelmingly, if not exclusively, infringing purposes, and that is how the users

  use the websites.

            50.54. The commercial value of Defendant DOE 1’s and DOE 2’s’ websites

  depends on high-volume use of unauthorized content through the website.

  Defendants DOE 1 and DOE 2 promise their users reliable and convenient access

  to all the content they can watch and users visit the websites based on Defendant

  DOE 1’s and DOE 2’s’ apparent success in delivering infringing content to their

  customers.

            51.55. Defendant DOE 1Nguyen is streamingstreamed copies of the motion

  picture Once Upon A Time In Venice via the YIFY website.




                                           19
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 20 of 37        PageID #:
                                     426




            52.56.
            53.57. Defendant DOE 1 Nguyen is streamingstreamed copies of the motion

  picture Mechanic: Resurrection via the YIFY website.




                                           20
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 21 of 37       PageID #:
                                     427




            54.58.
            55.59. Defendant DOE 1Nguyen is streamingstreamed copies of the motion

  picture I Feel Pretty via the YIFY website.




                                           21
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 22 of 37       PageID #:
                                     428




            56.60.
            57.61. Defendant DOE 1Nugyen is streamingstreamed copies of the motion

  picture Hunter Killer via the YIFY website.




                                           22
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 23 of 37              PageID #:
                                     429




            58.62.
            63.      Plaintiffs’ agents monitored the Internet traffic associated with the

  YIFY website while streaming the motion pictures and recorded the IP addresses

  which are likely the sources of the content. Exhibit “3”.

            64.      One of the IP addresses (169.54.206.44) shown in Exhibit “3” is

  controlled by the US Company Zeta Global, Inc., which operates an Internet

  comment platform called “Disqus”.

            59.65. Defendant Nguyen hid links for streaming Plaintiffs’ motion pictures


                                                23
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 24 of 37          PageID #:
                                     430



  in comments in the Disqus comment platform provided by the US company Zeta

  Global.

            60.   Defendant DOE 3 used the YTS website of Defendant DOE 2 or

  another source to copy at least a portion of the motion picture Boyka: Undisputed

  on April 9, 2017 at IP address 70.212.134.243.

            61.   Defendant DOE 3 used the website of Defendant DOE 2 or another

  source to copy a portion of the motion picture Once Upon a Time in Venice and

  share multiple copies of the motion picture on July 4, 2018 at IP address

  70.212.134.243.

            66.   Defendant Michael Nolasco, a resident of Hawaii, used the YTS

  website of Defendants Techmodo and Segaran DOE 2 or another source to copy a

  portion of and share multiple copies of the motion picture The Hitman’s Bodyguard

  on Sept. 3, 2017 to Sept. 27, 2017 at IP address 72.234.162.87. See Decl. of Nolasco

  at ¶7.

            62.

            63.67. Defendant Michael Nolasco used the YTS website of Defendant DOE

  2 or another source to copy a portion of the motion picture Once Upon a Time in

  Venice on November 19, 2017 at IP address 72.234.162.87.

            64.68. Defendant Michael Nolasco used the YTS website of Defendant DOE

  2 or another source to copy a portion of the motion picture Mechanic: Resurrection

                                           24
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 25 of 37          PageID #:
                                     431



  on December 24, 2017 at IP address 72.234.162.87. See Id. at ¶5.

            69.    Defendant Michael Nolasco used the YTS website of Defendant DOE

  2 or another source to copy a portion of the motion picture Singularity on February

  13, 2018 at IP address 72.234.162.87. See Id. at ¶6.

            70.    Michael Nolasco used the YIFY website of Defendant Nguyen to

  stream at least a portion of the motion picture Hitman’s Bodyguard sometime in or

  after 2017. See Id. at ¶8.

            65.

            71.    Defendant Brent Baldwin, a resident of Hawaii, used the YTS website

  of Defendants Techmodo and Segaran DOE 2 or another source to copy a portion

  of the motion picture The Hitman’s Bodyguard on Nov. 2, 2017 at IP address

  174.239.5.113. See Decl. of Baldwin at ¶9.

            66.

            72.    Defendant Brent Baldwin used the YTS website of Defendant DOE 2

  or another source to copy a portion of the motion picture Once Upon a Time in

  Venice on Feb. 11, 2018 at IP address 174.239.5.113. See Id. at ¶8.

            73.    Brent Baldwin used the YIFY website of Defendant Nguyen to stream

  copies of the motion pictures Singularity and Mechanic: Resurrection in 2017. See

  Id. at ¶¶3, 7.

            74.    Brent Baldwin and Michael Nolasco were motivated to infringe

                                             25
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 26 of 37           PageID #:
                                     432



  Plaintiffs’ Works from the promotional language of Defendants’ YIFY and YTS

  websites.

            75.     Brent Baldwin and Michael Nolasco used Defendants’ YIFY and YTS

  websites exactly as instructed by Defendants to infringe the Works.

            67.

            68.     The deceptive language on Defendant DOE 1’s and DOE 2’s websites

  convinced Defendant Brent Baldwin that the websites allowed him to legally watch

  free movies.


                                VI. FIRST CLAIM FOR RELIEF
                  (Intentional Inducement – Against Defendants DOE 1 and DOE 2)

            69.76. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            70.77. Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

            71.78. Defendants DOE 1 and DOE 2 have actual knowledge of third parties’

  infringement of Plaintiffs’ exclusive rights under the Copyright Act.

            72.79. Defendants DOE 1 and DOE 2 intentionally induced the infringement

  of Plaintiffs’ exclusive rights under the Copyright Act, including infringement of

  Plaintiffs’ exclusive right to publicly perform and distribute copies of Copyrighted

  Works.

                                             26
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 27 of 37            PageID #:
                                     433



            73.80. As intended and encouraged by Defendant DOE 1Nguyen, the YIFY

  website connects users to sources and/or sites that publicly perform copies of

  Plaintiffs’ Copyrighted Works. The operators of these sources directly infringe

  Plaintiffs’ exclusive rights by providing unauthorized public performances of the

  works to the public, including to users of Defendant DOE 1Nugyen’s website.

            74.81. These operators, or others operating in concert with them, control the

  facilities and equipment used to store and distribute the content, and they actively

  and directly cause the content to be performed when users click on a link for the

  content on the YIFY website of Defendants DOE 1Nguyen.

            75.82. As intended and encouraged by Defendants Techmodo and Segaran

  DOE 2, the YTS website provides torrent files that connect users to Torrent sources

  and/or sites that deliver copies of Plaintiffs’ Copyrighted Works. The operators of

  these Torrent sources directly infringe Plaintiffs’ exclusive rights by providing

  unauthorized copies of the works to the public, including to users of Defendants

  Techmodo and SegaranDOE 2’s website.

            76.83. Once the user of Defendants Techmodo and Segaran DOE 2’s website

  has obtained a complete copy of the Plaintiffs’ Copyrighted Works, that particular

  user also becomes another Torrent source that delivers copies of Plaintiffs’

  Copyrighted Works.

            77.84. Defendants Techmodo and Segaran DOE 2 induces the aforementioned

                                              27
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 28 of 37            PageID #:
                                     434



  acts of infringement by supplying the torrent files that facilitate, enable, and create

  direct links between their users and the infringing Torrent sources, and by actively

  inducing, encouraging and promoting the use of the website for blatant copyright

  infringement.

            78.85. Defendants Techmodo and SegaranDOE 1’s and DOE 2’s intentional

  inducement of the infringement of Plaintiffs’ rights in each of their Copyrighted

  Works constitutes a separate and distinct act of infringement.

            79.86. Defendants’ DOE 1’s and DOE 2’s inducement of the infringement of

  Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in

  disregard of and with indifference to the rights of the Plaintiffs.

            80.87. Defendant DOE 1’s and DOE 2s’s actions are a direct and proximate

  cause of the infringements of Plaintiffs’ Works.

                             VII. SECOND CLAIM FOR RELIEF
                   (Contributory Copyright Infringement based upon Material
                     Contribution – Against Defendants DOE 1 and DOE 2)

            81.88. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            82.89. Defendants DOE 1 and DOE 2 have actual or constructive knowledge

  of infringement of Plaintiffs’ exclusive rights under the Copyright Act. Defendants

  DOE 1 and DOE 2 knowingly and materially contribute to such infringing activity.

            83.90. Defendant DOE 1Nguyen knowingly and materially contributes to the

                                             28
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 29 of 37           PageID #:
                                     435



  infringement of Plaintiffs’ exclusive rights under the Copyright Act, including

  infringement of Plaintiffs’ exclusive right to publicly perform their works.

  Defendant DOE 1Nguyen designs and promotes the use of the YIFY website to

  connect customers to unauthorized online sources that stream copies of Plaintiffs’

  Copyrighted Works. The operators of these source repositories directly infringe

  Plaintiffs’ public performance rights by providing copies of the works to the public,

  including to users of the YIFY website. The operators, or others operating in concert

  with them, control the facilities and equipment used to store and deliver copies of

  the content, and they actively and directly cause the content to be streamed when

  users click on a link of the YIFY website for the content.

            84.91. Defendant DOE 1Nguyen knowingly and materially contributes to the

  aforementioned acts of infringement by supplying the YIFY website that facilitates,

  encourages, enables, and creates direct links between website users and infringing

  operators of the streaming services, and by actively encouraging, promoting, and

  contributing to the use of the website for blatant copyright infringement.

            85.92. Defendant DOE 2s Techmodo and Segaran knowingly and materially

  contributes to the infringement of Plaintiffs’ exclusive rights under the Copyright

  Act, including infringement of Plaintiffs’ exclusive right to distribute their works.

  Defendants Techmodo and Segaran DOE 2 designs and promotes the use of the YTS

  website to provide torrent files that connect customers to unauthorized online torrent

                                            29
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 30 of 37             PageID #:
                                     436



  sources to download copies of Plaintiffs’ Copyrighted Works. The operators of

  these torrent sources directly infringe Plaintiffs’ distribution rights by providing

  copies of the Works to the public, including to YTS website users. The operators, or

  others operating in concert with them, control the facilities and equipment used to

  store and deliver copies of the the content, and they actively and directly cause the

  content to be distributed when users run the torrent file obtained from the YTS

  website.

            86.93. Defendants DOE 1 and DOE 2 knowingly and materially contributes to

  the aforementioned acts of infringement by supplying the website that facilitates,

  encourages, enables, and creates direct links between website users and infringing

  operators of the streaming and Torrent services, and by actively encouraging,

  promoting, and contributing to the use of the website for blatant copyright

  infringement.

            87.94. Defendants’ DOE 1’s and DOE 2’s knowing and material contribution

  to the infringement of Plaintiffs’ rights in each of their Copyrighted Works constitutes

  a separate and distinct act of infringement.

            88.95. Defendants DOE 1’s and DOE 2’s knowing and material contribution to

  the infringement of Plaintiffs’ Copyrighted Works is willful, intentional, and

  purposeful, and in disregard of and with indifference to the rights of Plaintiffs.

            89.96. As a direct and proximate result of the infringement to which

                                             30
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 31 of 37          PageID #:
                                     437



  Defendants DOE 1 and DOE 2 knowingly and materially contributes, Plaintiffs are

  entitled to damages and Defendants DOE 1’s and DOE 2’s profits in amounts to be

  proven at trial.

            90.97. Defendants DOE 1 and DOE 2 obtained a direct financial interest,

  financial advantage, and/or economic consideration from the infringements in Hawaii

  as a result of their infringing actions in the United States.

            91.98. Defendants DOE 1’s and DOE 2’s actions are a direct and proximate

  cause of the infringements of Plaintiffs’ Works.

                             VIII. THIRD CLAIM FOR RELIEF
            (Direct Copyright Infringement against Defendants Doe 3Techmodo and
                        Segaran, Michael Nolasco and Brent Baldwin)

            92.99. Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

            93.100.     Plaintiffs UN4 Productions, Inc. isare the copyright owners of

  the Works which each contains an original work of authorship.

            94.   Plaintiff Venice PI, LLC is the copyright owner of the Work which

  contains an original work of authorship.

            95.   Defendants Techmodo and Segaran DOE 3 copied the constituent

  elements of the registered Works of Plaintiffs UN4 Production, Inc. and Venice PI,

  LLC that are original.

            96.101.     Plaintiffs UN4 Productions, Inc. and Venice PI, LLC did not

                                             31
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 32 of 37              PageID #:
                                     438



  authorize, permit, or provide consent to Defendant DOE 3 to copy, reproduce,

  redistribute, perform, or display their Workand created torrent files for distributing

  the Works.s.

            97.102.     As a result of the foregoing, Defendants Techmodo and Segaran

  DOE 3 violated the Plaintiff’s exclusive right to: (A) Reproduce the Work in copies,

  in violation of 17 U.S.C. §§ 106(1) and 501.; (B) Redistribute copies of the Work

  to the public by sale or other transfer of ownership, or by rental, lease or lending, in

  violation of 17 U.S.C. §§ 106(3) and 501; (C) Perform the copyrighted Work, in

  violation of 17 U.S.C. §§ 106(4) and 501, by showing the Work’s images; and, (D)

  Display the copyrighted Work, in violation of 17 U.S.C. §§ 106(5) and 501, by

  showing individual images of the Work non-sequentially and transmitting said

  display of the Work by means of a device or process to members of the public

  capable of receiving the display (as set forth in 17 U.S.C. § 101’s definition of

  “publicly” display.)

            98.103.     Each of the Defendants Techmodo and Segaran DOE 3’s

  infringements was committed “willfully” within the meaning of 17 U.S.C. §

  504(c)(2).

            99.   Plaintiff Bodyguard Productions, Inc. is the copyright owner of the

  Work which contains an original work of authorship.

            100. Plaintiff MON, LLC is the copyright owner of the Work which

                                             32
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 33 of 37           PageID #:
                                     439



  contains an original work of authorship.

            101. Plaintiff Millennium Funding, Inc. is the copyright owner of the Work

  which contains an original work of authorship.

            102. Defendant Michael Nolasco copied the constituent elements of the

  registered Works of Plaintiffs Bodyguard Production, Inc., Venice PI, LLC, MON,

  LLC and Millennium Funding, Inc. that are original.

            103. Plaintiffs Bodyguard Production, Inc., Venice PI, LLC, MON, LLC

  and Millennium Funding, Inc. did not authorize, permit, or provide consent to

  Defendant Michael Nolasco to copy, reproduce, redistribute, perform, or display

  their Works.

            104. As a result of the foregoing, Defendant Michael Nolasco violated the

  exclusive right of Plaintiffs Bodyguard Production, Inc., Venice PI, LLC, MON,

  LLC and Millennium Funding, Inc. to: (A) Reproduce the Work in copies, in

  violation of 17 U.S.C. §§ 106(1) and 501; (B) Redistribute copies of the Work to

  the public by sale or other transfer of ownership, or by rental, lease or lending, in

  violation of 17 U.S.C. §§ 106(3) and 501; (C) Perform the copyrighted Work, in

  violation of 17 U.S.C. §§ 106(4) and 501, by showing the Work’s images; and, (D)

  Display the copyrighted Work, in violation of 17 U.S.C. §§ 106(5) and 501, by

  showing individual images of the Work non-sequentially and transmitting said

  display of the Work by means of a device or process to members of the public

                                             33
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 34 of 37           PageID #:
                                     440



  capable of receiving the display (as set forth in 17 U.S.C. § 101’s definition of

  “publicly” display.)

            105. Each of the Defendant Michael Nolasco’s infringements was

  committed “willfully” within the meaning of 17 U.S.C. § 504(c)(2).

            106. Defendant Brent Baldwin copied the constituent elements of the

  registered Works of Plaintiffs Bodyguard Productions, Inc. and Venice PI, LLC that

  are original.

            107. Plaintiffs Bodyguard Productions, Inc. and Venice PI, LLC did not

  authorize, permit, or provide consent to Defendant Brent Baldwin to copy,

  reproduce, redistribute, perform, or display their Works.

            108. As a result of the foregoing, Defendant Brent Baldwin violated the

  exclusive right of Plaintiffs Bodyguard Productions, Inc. and Venice PI, LLC to:

  (A) Reproduce the Work in copies, in violation of 17 U.S.C. §§ 106(1) and 501; (B)

  Redistribute copies of the Work to the public by sale or other transfer of ownership,

  or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and 501; (C)

  Perform the copyrighted Work, in violation of 17 U.S.C. §§ 106(4) and 501, by

  showing the Work’s images; and, (D) Display the copyrighted Work, in violation

  of 17 U.S.C. §§ 106(5) and 501, by showing individual images of the Work non-

  sequentially and transmitting said display of the Work by means of a device or

  process to members of the public capable of receiving the display (as set forth in 17

                                           34
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 35 of 37             PageID #:
                                     441



  U.S.C. § 101’s definition of “publicly” display.)

            109. Each of the Defendant Brent Baldwin’s infringements was committed

  “willfully” within the meaning of 17 U.S.C. § 504(c)(2).

            110.104.    By engaging in the infringement alleged in this First Amended

  Complaint, the Defendants deprived not only the producer of the Works from

  income that could have been derived when these films were shown in public theaters

  and offered for sale or rental, but also all persons involved in the production and

  marketing of this film, numerous owners of local theaters and retail outlets in

  Hawai’i and their employees, and, ultimately, the local economy. The Defendants’

  misconduct therefore offends public policy.

            111.105.    The Plaintiffs have suffered damages that were proximately

  caused by each of the Defendants’ copyright infringements including, but not

  limited to lost sales, price erosion, and a diminution of the value of its copyright.

                                 PRAYER FOR RELIEF

            WHEREFORE, the Plaintiffs respectfully requests that this Court:

            (A) enter temporary, preliminary and permanent injunctions enjoining each

  Defendant from continuing to contribute to infringement of the Plaintiffs’

  copyrighted Works;

            (B) Entry of an Order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

  that, Cloudflare and any other service provider cease providing service for the

                                             35
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 36 of 37                  PageID #:
                                     442



  websites: (i) yifymovies.is; (ii) yts.ag; and (iii) yts.am lt immediately cease said

  service;

            (C) that, upon Plaintiffs’ request, those in privity with Defendants and those

  with notice of the injunction, including any Internet search engines, Web hosts,

  domain-name registrars, and domain name registries and/or their administrators that

  are provided with notice of the injunction, cease facilitating access to any or all

  domain names and websites through which Defendants DOE 1 and DOE 2 engage

  in the aforementioned infringements;

            (D) award the Plaintiffs’ actual damages and Defendants’ profits in such

  amount as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

  damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

            (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

  17 U.S.C. § 505; and

            (F) grant the Plaintiffs any and all other and further relief that this Court deems

  just and proper.

            The Plaintiffs hereby demand a trial by jury on all issues properly triable by

  jury.



            DATED: Kailua-Kona, Hawaii, April 4October 24, 2019.



                                                36
  20-015A
Case 1:19-cv-00169-LEK-KJM Document 50-2 Filed 10/24/19 Page 37 of 37   PageID #:
                                     443



                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                               Attorney for Plaintiffs




                                       37
  20-015A
